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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )                    8:12CR282
      vs.                               )
                                        )                      ORDER
ANDREA INZUNZA-LOPEZ,                   )
                                        )
                                        )
                    Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME IN
WHICH TO FILE PRETRIAL MOTIONS [142]. The record shows that this deadline has
shall expire on October 19, 2012. The court finds that the defendant has not shown good
cause for extending the deadline.

      IT IS ORDERED:

        Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL MOTIONS
[142] is denied.

      Pursuant to NECrimR 57.2(a), a party may appeal this order by filing a “Statement
of Appeal of Magistrate Judge’s Order” no later an12:00 noon on Thursday, October 25,
2012.

      DATED this 18th day of October, 2012.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
